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   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11   ZHANG HUITING,                          Case No. CV 21-05105-FMO (RAOx)
  12                        Plaintiff,
  13          v.                               JUDGMENT
  14   ALEJANDRO MAYORKAS,
  15                        Defendant.
  16
             In accordance with the Order Dismissing Complaint issued concurrently
  17
       herewith, IT IS ORDERED AND ADJUDGED that this action is DISMISSED
  18
       without prejudice.
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  20
       DATED: October 5, 2021
  21                                                /s/
                                           ________________________________________
  22                                       FERNANDO M. OLGUIN
                                           UNITED STATES DISTRICT JUDGE
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